  Case 1:06-cr-00079-JMS-KSC      Document 1275     Filed 08/16/10   Page 1 of 36
                                  PageID.14420


                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAI`I

UNITED STATES OF AMERICA,     )               CR. NO. 06-00079 DAE-KSC
                              )
           Plaintiff,         )
     vs.                      )
                              )
NAEEM J. WILLIAMS,            )
                              )
           Defendant.         )
_____________________________ )

  ORDER: (1) DENYING AS MOOT IN PART AND GRANTING IN PART
 DEFENDANT’S MOTION TO FORECLOSE PSYCHOLOGICAL TESTING
USING THE PCL-R AND OTHER UNRELIABLE TESTING INSTRUMENTS;
    (2) DENYING AS MOOT DEFENDANT’S MOTION FOR ORDER
   REQUIRING VIDEOTAPING OF EXAMINATIONS; (3) GRANTING
  DEFENDANT’S MOTION FOR DECISION ON PENDING TAINT TEAM
     QUESTION; GRANTING DEFENDANT’S MOTIONS TO SEAL

            On August 9, 2010, the Court heard Defendant’s Motions. Marshall

H. Silverberg, Assistant U.S. Attorney, appeared at the hearing on behalf of the

Government; John T. Philpsborn, Esq., and David Klein, Esq., appeared on behalf

of Defendant Naeem Williams. After reviewing the motion and the supporting and

opposing memoranda, the Court DENIES AS MOOT IN PART AND GRANTS

IN PART Defendant’s Motion to Foreclose Psychological Testing using the PCL-

R and Other Unreliable Testing Instruments; (2) DENIES AS MOOT Defendant’s

Motion For Order Requiring Videotaping of Examinations; (3) GRANTS

Defendant’s Motion For Decision on Pending Taint Team Question. (Doc.
  Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 2 of 36
                                   PageID.14421


# 1120.) Additionally, the Court GRANTS the Oakland Motion to Seal (Doc.

# 1217) and the Goldstein Motion to Seal (Doc. # 1218).

                                 BACKGROUND

             The parties are very familiar with the issues in this case, and the Court

only recites those facts that are relevant to determination of the instant motion. On

April 23, 2010, Defendant filed the instant motion to Foreclose Psychological

Testing using the PCL-R and Other Unreliable Testing Instruments; (2) For Order

Requiring Videotaping of Examinations; (3) For Decision on Pending Taint Team

Question (“Motion”). (“Mot.,” Doc. # 1120.) On May 5, 2010, the Government

filed its Opposition. (“Opp’n,” Doc. # 1122.)

             On July 21, 2010, Defendant filed a Motion to Seal Specific First and

Second Set Objections to Scope of Psychological Interview by Dr. Oakland (Taint

Team Pleading). (Doc. # 1214.) On the same day, Defendant filed an Errata to his

Motion to Seal that replaced the prior motion (“Oakland Motion to Seal”).

(“Oakland Mot. to Seal,” Doc. # 1217.) On July 22, 2010, Defendant filed a

Motion to Seal First and Second Set of Specific Objections to Dr. Goldstein’s May

20, 21 & 23, 2010 Examination for Taint Team Litigation (“Goldstein Motion to

Seal”). (“Goldstein Mot. to Seal,” Doc. # 1218.) On July 23, 2010, the

Government filed oppositions to both the Oakland and Goldstein Motions to Seal.


                                          2
  Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 3 of 36
                                   PageID.14422


(“Opp’n to Oakland,” Doc. # 1224; “Opp’n to Goldstein,” Doc. # 1225.) On July

28, 2010, Defendant filed a Response to the Government’s oppositions.

(“Response to Mots. to Seal,” Doc. # 1242.)

                                   DISCUSSION

             Defendant’s April 23, 2010 Motion requests that this Court:

      (1) foreclose or prohibit the use by a government employed mental
      condition examiner of any assessment testing instrument, or published
      structured interview, including the PCL-R, a purpose of which is to
      assess dangerousness and/or psychopathy;

      (2) foreclose or exclude the use of any unreliable or invalid test or
      assessment device during the governmental examination;

      (3) foreclose any test, assessment instrument or interview that exceeds
      the scope of the purpose of the examination;

      (4) require videotaping of the governmental examinations of the
      defendant by Drs. Diana S. Goldstein and Thomas David Oakland;1

      (5) issue an Order specifying the procedures to be used before the
      examinations take place as scheduled during the weeks of May 18-21,
      2010 (for Dr. Goldstein) and May 24-26, 2010 (for Dr. Oakland);2 and


      1
        The Government represents that counsel for both parties were able to
resolve the objections raised by Drs. Goldstein and Oakland regarding the
videotaping of their examinations. Accordingly, the Court finds that this issue is
now moot. (Opp’n at 22.)
      2
        After Defendant filed the instant Motion, the Government provided
defense counsel with a list of tests which Dr. Goldstein (see Opp’n, Ex. 3) and Dr.
Oakland (see id., Ex. 4) intended to administer prior to any Government
examination of Defendant. (Opp’n at 22.) Accordingly, the Court finds that

                                          3
  Case 1:06-cr-00079-JMS-KSC        Document 1275      Filed 08/16/10   Page 4 of 36
                                    PageID.14423


      (6) determine whether a taint team should be required.

(See Mot. at 2.) The disposition of Defendant’s Motions to Seal depends upon this

Court’s resolution of Defendant’s Motion of April 23, 2010, requesting that the

Court determine whether a taint team is necessary for litigation of Defendant’s

objections to the examinations of Defendant by Government experts Drs. Goldstein

and Oakland.3

             Subsequent to filing the instant Motion, the parties stipulated to a

procedure to govern the examination of Defendant by Drs. Goldstein and Oakland.4

(“Stipulation,” Doc. # 1131.) The parties agreed that the Government experts

would be allowed to conduct their testing as they saw fit and that Defendant’s

objections would preserve his right to further litigate the admissibility of the

findings. The Court now addresses the appropriateness of Drs. Goldstein and



Defendant’s request that this Court issue an Order specifying the procedures to be
used before Drs. Goldstein and Oakland’s examinations is also moot.
      3
        This Court ordered a taint team procedure for the litigation of specific
objections by defense counsel related to Dr. Phillip J. Resnick’s examination of
Defendant. (See Doc. # 883.)
      4
        The Court notes that neither party submitted a motion to shorten time, as
required by the Local Rules, in order to have this matter heard prior to the doctors’
examination of Defendant. See Local Rule 6.2(e); Local Rule 7.2(a), (b). Any
statement that the Court was “unavailable” is inaccurate or is meant to refer to the
Court’s practice of setting hearing dates as motions are filed and reflects the
parties’ inability to abide by the Local Rules.

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     Case 1:06-cr-00079-JMS-KSC     Document 1275       Filed 08/16/10   Page 5 of 36
                                    PageID.14424


Oakland’s examination methodology, the scope of admissibility of the findings,

and the proper procedure for resolving defense counsel’s pending objections to

those examinations.

I.      Scope of Psychological Testing and Use of the PCL-R5

              In the interests of clarity, the Court first recounts some of the

background issues regarding admissibility of mental status evidence in this case.

Because this is a capital case, Defendant provided notice as per the Federal Rules

of Criminal Procedure that he intends to introduce expert testimony and evidence

relating to a mental defect and condition, specifically borderline intellectual

function (“BIF”) and brain damage, bearing upon his guilt (see Fed. R. Crim. P.

12.2(b)(1)) and punishment (see Fed. R. Crim. P. 12.2(b)(2)). The Government

challenged the admissibility of that testimony under Federal Rules of Evidence

403, 702 and 704(b) and requested a hearing pursuant to Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993). Consequently, the Court held a

four-day Daubert hearing.

              By order dated February 20, 2009, the Court denied the Government’s

motion and found expert witness testimony from neuropsychologist Dr. Myla


        5
        Defendant has not specifically raised an “unreliable testing instrument”
argument except with respect to the PCL-R, and therefore, this Court cannot rule
on the reliability of any other method.

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  Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 6 of 36
                                   PageID.14425


Young and psychiatrist Dr. Pablo Stewart admissible at the guilt phase but placed

restrictions on that testimony. (“Mental Health Order,” Doc. # 780.) The Court

ruled that both Drs. Young and Stewart may testify at the guilt phase as to their

diagnoses of Defendant and the impact that BIF and brain damage may have on

Defendant’s capacity to form the specific intent to commit child abuse (as charged

in Count 1 of the Second Superseding Indictment) or to perpetrate a pattern or

practice of assault or torture of a child (as charged in Count 2 of the Second

Superseding Indictment) but may not assert that “BIF is a formal, recognized, or

otherwise official disease, or defect.” (See Mental Health Order at 28, 42, 47;

“Second Superseding Indictment,” Doc. # 999.)

             Thereafter, the Government sought to conduct its own mental health

examinations of Defendant. Generally, an accused retains a Fifth Amendment

right against compelled self-incrimination in the face of a court-ordered

examination for psychiatric and psychological issues. Estelle v. Smith, 451 U.S.

454, 464-65 (1981). However, the United States Supreme Court has stated that

where an accused has noticed a mental state defense, he waives his Fifth

Amendment right and evidence from the reports of the examination that he

requested may be introduced as rebuttal evidence by the prosecution. Buchanan v.

Kentucky, 483 U.S. 402, 422-23 (1987) (also noting that several Courts of Appeals


                                          6
  Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 7 of 36
                                   PageID.14426


have held that when a defendant asserts the insanity defense, and introduces

supporting psychiatric testimony, he can be required to submit to a sanity

examination conducted by the prosecution’s psychiatrist); accord Powell v. Texas,

492 U.S. 680 (1989) (per curiam). Ninth Circuit case law further holds that a

defendant who puts his or her mental state at issue may be compelled to submit to

psychiatric examinations. See, e.g., United States v. Phelps, 955 F.2d 1258, 1263

(9th Cir. 1992) (insanity acquittee places his insanity at issue by seeking release on

the ground that he has recovered), cert. denied, 504 U.S. 989 (1992). Federal Rule

of Criminal Procedure (“Rule”) 12.2(c)(1)(B) now provides authority for a court to

order a defendant who has provided notice under Rule 12.2(b) to be examined,

upon the government’s motion, under procedures ordered by a court. Fed. R.

Crim. P. 12.2(c)(1)(B).

             Subsequently, and pursuant to another Order by this Court (Doc. #

883), the Government’s forensic psychiatrist, Dr. Philip Resnick, evaluated

Defendant on October 13-14, 2009. (Opp’n at 5.) This Court ordered a taint team

procedure for the litigation of specific objections by defense counsel related to Dr.

Resnick’s examination. (See Doc. # 883.) Numerous pleadings have been filed by

both parties regarding Dr. Resnick’s evaluation. (See Docs. ## 911, 936 & 1009;




                                          7
  Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10    Page 8 of 36
                                   PageID.14427


Docs. ## 954, 1023 & 1033; Docs. ## 952 & 1009; and Docs. ## 1022, 1034,

1057, 1062, & 1072.).

      A.     Scope of Psychological Testing by the Government

             The instant Motion was filed in response to the Government’s request

for Dr. Goldstein, a neuropsychologist, and Dr. Oakland, an educational

psychologist who also is board-certified in neuropsychology, to evaluate

Defendant regarding his mental status.6 (Id. at 5.) Defendant did not object to

testing by the Government experts, but believed the scope of the psychological

testing to be broader than necessary to rebut Defendant’s mental health evidence

and to involve issues solely related to the penalty phase of trial. In response, the

Government argued that their mental health experts, who will only be called in

rebuttal after Defendant’s mental health experts have testified as required by Rule

12.2(c)(4)(A), are not limited to testing and evaluating Defendant in order to

determine if he has BIF as determined by Drs. Young and Stewart. (Id. at 6-8.)

Instead, the Government asserted that its experts must be allowed to examine

Defendant in order to ascertain, and later testify to, any other possible motive,



      6
       At this stage, because the parties have already proceeded with the
Government testing of Defendant, the Court addresses the appropriateness of those
examinations and the scope of the Government experts’ findings that are
admissible at the guilt phase.

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  Case 1:06-cr-00079-JMS-KSC         Document 1275      Filed 08/16/10   Page 9 of 36
                                     PageID.14428


condition, or disease that may have caused the Defendant to allegedly kill Talia.

(Id. at 6-7.)

                In support, the Government argued that evaluators must begin from a

neutral viewpoint “without preconceived expectations and biases that could distort

data collection or data analysis.” (Id. at 7 (citing Wettstein, Robert, “The Forensic

Examination and Report,” Chapter 7 in the Textbook of Forensic Psychiatry 133,

151-53, Ex. 6.) The Government’s experts Drs. Resnick, Goldstein, Linda S.

Gottfredson, and Oakland all support this view and declared uniformly that it is

unreasonable to limit their examination of Defendant to “only confirming or

disconfirming diagnoses made by opposing experts.” (Id., Ex. 7 ¶ 4 (Dr. Resnick);

Ex. 10 ¶¶ 9-10 (Dr. Goldstein); Ex. 9 ¶ 11 (Dr. Gottfredson); Ex. 11. ¶¶ 13-16 (Dr.

Oakland).) Dr. Oakland also asserts that because the American Psychological

Association’s current 2002 Ethical Principles of Psychologists and Code of

Conduct requires impartiality, adhering to Defendant’s proposed restrictions

“would be inconsistent with [his] ethical obligations.” (Id., Ex. 11. ¶ 16.)

                Defendant has chosen to raise a mental status defense in the guilt

stage and intends to provide expert testimony to the effect that his capacity to

understand the harm he allegedly caused Talia was impaired by his condition of

BIF. The Court generally agrees with the Government and its experts that in order


                                            9
 Case 1:06-cr-00079-JMS-KSC       Document 1275     Filed 08/16/10   Page 10 of 36
                                   PageID.14429


to properly prepare a mental diagnosis regarding why Defendant allegedly

committed the crime, the Government’s experts need to determine from a neutral

viewpoint not only whether Defendant suffers from BIF but also whether there is

any possible alternative diagnosis for explaining why Defendant allegedly

committed the acts as charged in the Second Superseding Indictment. However,

preparing a mental diagnosis as to why Defendant committed the alleged acts

exceeds the scope of the Government’s experts’ role in this case. Here, the

Government’s experts are limited to rebutting Defendant’s mental status evidence,

not ascertaining another possible motive for Defendant’s actions.7

             When a defendant raises a defense that relies on an expert

examination of his mental condition, the Fifth Amendment does not protect him

from being compelled to submit to a similar examination conducted on behalf of

the prosecution or from the introduction of evidence from that examination for the

purpose of rebutting the defense. See Saiz v. Ortiz, 392 F.3d 1166 (10th Cir. 2004)

(Hartz, J., concurring) (citing Hess v. Macaskill, 67 F.3d 307 (9th Cir. 1995)




      7
        As the court in United States v. Wilson, 493 F. Supp. 2d 348, 350-51
(E.D.N.Y. 2006) noted, there is a “dearth of federal precedent on Rule 12.2 mental
condition . . . evidence issues, particularly post-2002 when Rule 12.2 was
amended.”

                                         10
 Case 1:06-cr-00079-JMS-KSC        Document 1275     Filed 08/16/10   Page 11 of 36
                                    PageID.14430


(unpublished)). At issue here is what it means to “rebut the defense.” In Hess,8 the

Ninth Circuit held that “ordering Hess to submit to psychological and psychiatric

examinations after she expressed her intent to rely on expert testimony to establish

the defense of battered woman’s syndrome was not error.” However, the state trial

court in Hess allowed only limited testimony by state experts of Hess’ mental state

in rebuttal to her defense. Hess, 67 F.3d 307, *3. As the Ninth Circuit stated:

      The state trial court ordered Hess to submit to an examination only if
      she intended to use the expert testimony of Dr. Lenore Walker. The
      State was permitted to have Hess examined by experts of its choosing
      but the State was only permitted to use this testimony during the
      rebuttal phase of the trial. Finally, any opinions and evidence gained
      from the evaluations could be used only to rebut Hess’ battered
      woman’s syndrome defense.

Id. Accordingly, in limiting the state’s rebuttal to contradicting Hess’ asserted

defense, the trial court did not allow the state to use the opportunity to examine

Hess as a fishing expedition for any other mental defect that may have provided a

motive for the alleged crime.




      8
        The Court acknowledges that Ninth Circuit Rule 36-3 provides that
unpublished dispositions and orders “are not precedent, except when relevant
under the doctrine of law of the case or rules of claim preclusion or issue
preclusion[,]” however, the Court’s citation to Hess in the instant case is meant to
be merely illustrative.

                                         11
 Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 12 of 36
                                   PageID.14431


             It is well founded that when a defendant waives his Fifth Amendment

right against self-incrimination by voluntarily providing testimony in his own

defense, he does so only on the matters raised by his own testimony on direct

examination. Brown v. United States, 356 U.S. 148, 154-155 (1958) (“[T]he

breadth of his waiver is determined by the scope of relevant cross-examination.”);

see also id. at 155 (a defendant “determines the area of disclosure and therefore of

inquiry”). Application of this principle was shown in Powell, where the United

States Supreme Court held that a capital defendant’s introduction of psychiatric

evidence on the issue of sanity did not open the door to the admission of

psychiatric evidence on future dangerousness at the penalty phase. Powell, 492

U.S. at 685 n.3. Similarly, the Supreme Court in Buchanan showed application of

a limited waiver when it stated that there is no constitutional violation when the

prosecution offers examination evidence for a “limited rebuttal purpose.”9


      9
         In Buchanan, the prosecution introduced a report on what the petitioner
argued was “a very different issue from his mental condition at the time of the
crime that was the focus of his extreme-emotional-disturbance defense.”
Buchanan, 483 U.S. at 423 n.20. The Supreme Court noted that all references in
the report to petitioner’s competency were eliminated and what the jury heard was
an “evaluation of petitioner’s mental condition.” Id. (described elsewhere in the
opinion as “general observations about the mental state of petitioner”). Although it
is not specifically noted that the statement of petitioner’s mental health did not
contain new diagnoses outside the scope of that offered by the petitioner, it is clear
that the report was within the scope of the petitioner’s examination by his expert
witness as the prosecution simply introduced evidence from the exam requested by

                                         12
 Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 13 of 36
                                   PageID.14432


Buchanan, 483 U.S. at 424, 422-23 (“if a defendant requests such an evaluation or

presents psychiatric evidence, then, at the very least, the prosecution may rebut this

presentation with evidence from the reports of the examination that the defendant

requested. The defendant would have no Fifth Amendment privilege against the

introduction of this psychiatric testimony by the prosecution.”); United States v.

Johnson, 383 F. Supp. 2d 1145, 1162 (N.D. Iowa 2005) (questions that exceed the

scope of what is necessary for the government’s experts to rebut the defendant’s

mental condition evidence would exceed the scope of the defendant’s limited

waiver of her Fifth Amendment right against self incrimination.)

             The Government points to no case law holding that a defendant’s

decision to raise a mental status defense opens the door to allow the prosecution to

assert diagnoses or defects other than to rebut those specifically placed at issue by

the defendant. Here, as evidenced by the Government’s experts, the Government

seeks to exceed the scope of what an examination for BIF would entail in order to

determine if a different possible motive exists for Defendant’s alleged actions. As

the Third Circuit has stated:

      [T]he Fifth–but not Sixth–Amendment right can be waived when the
      defendant initiates a trial defense of mental incapacity or disturbance,
      even though the defendant had not been given Miranda warnings


petitioner. Id. at 423.

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 Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 14 of 36
                                   PageID.14433


      (Buchanan, Powell). But that waiver is not limitless; it only allows the
      prosecution to use the interview to provide rebuttal to the psychiatric
      defense (Buchanan, Powell).


Gibbs v. Frank, 387 F.3d 268, 274 (3d Cir. 2004). Further, the Sixth Circuit has

stated that a court must determine whether an examination is even necessary

because “[u]nlike a claim of insanity, a mental condition, disease or defect requires

a case by case analysis to determine whether a psychiatric or psychological

examination of the defendant will be necessary for the government fairly to rebut

the defendant’s expert evidence.” United States v. Davis, 93 F.3d 1286, 1293 (6th

Cir. 1996)10 (“[T]he introduction of expert testimony regarding a mental condition,

disease, or defect does not particularly suggest the need for an examination of the

defendant, let alone require it.”); accord United States v. Visinaiz, 96 Fed. Appx.

594, 599 (10th Cir. 2004) (unpublished).

             Persuasively, a district court in United States v. Taylor, 320 F. Supp.

2d 790 (N.D. Ind. 2004), ruled in a capital case that the government testing of the

defendant subject to defendant’s mental health notice was limited to a parallel

exploration of the issues addressed in the exams conducted by defense experts. Id.



      10
          Rule 12.2(c)(1)(B) was amended after Davis to extend the authority of a
court to order a mental examination under Rule 12.2(c)(1)(B) to when a defendant
provided notice under Rule 12.2(b).

                                         14
 Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 15 of 36
                                   PageID.14434


at 794. In Taylor, defendant Thomas noticed under Rule 12.2(b) that he intended

to introduce expert evidence relating to his mental condition on substance abuse

and developmental history during any potential sentencing phase. Id. at 791. All

tests performed by Thomas’ experts were related directly to alcohol and drug

screening, id. at 791 n.1, however, Thomas also provided notice that in preparation

of his defense, at least one of his experts might choose to rely on psycho-social

testing, id. at 793 n.3.

              Thomas argued that the government’s request for mental health testing

including (1) the Minnesota Multiphasic Personality Inventory; (2) the Personality

Assessment Inventory; (3) the Millon Clinical Multiaxial Inventory; and (4) the

Interview Schedule for the Psychopathy Checklist-Revised, violated the limited

access provided to the government for mental health testing under Fed. R. Crim. P.

12.2. Id. at 792-94. The Taylor court held that in order to rebut Thomas’ limited

mental health notice, the government tests could only parallel the exams conducted

by defense experts regarding substance abuse. Id. at 794. The court explained

that Thomas’ limited notice could not be construed as “an open door for any type

of mental testing.” Id. Specifically, the court held that the government could

utilize tests only to the extent they contained scales for substance abuse and barred




                                         15
 Case 1:06-cr-00079-JMS-KSC        Document 1275      Filed 08/16/10   Page 16 of 36
                                    PageID.14435


the government from introducing any materials that were outside the scope of

mental health testing as it related to substance abuse. Id.

             The same result was found in Centeno v. Superior Court, 117 Cal.

App. 4th 30 (2004), where the court held that a defendant who tenders his mental

condition as an issue waives his Fifth Amendment right against self-incrimination

to the extent necessary to permit a proper examination of that condition,

“[o]therwise, there is a danger that defendants will be improperly subjected to

mental examinations beyond the scope of the precise issue they have tendered and

their resulting waiver of constitutional rights.” Id. at 40-44. The Centeno court

explained that

      when mental retardation . . . is the issue, the tests to be conducted by
      prosecution experts must be reasonably related to a determination of
      whether the defendant has a “significantly subaverage general
      intellectual functioning existing concurrently with deficits in adaptive
      behavior and manifested before the age of 18.” (Pen.Code, § 1376,
      subd. (a)[.] . . . The mental retardation examination must be limited in
      its scope to the question of mental retardation. . . . Therefore, if
      requested, the prosecution must, as it was required to do in this case,
      submit a list of proposed tests to be considered by the defendant so
      that any objections may be raised before testing begins. Then, upon a
      defense objection to specific proposed prosecution tests, the trial court
      must make a threshold determination that the tests bear some
      reasonable relation to measuring mental retardation, including factors
      that might confound or explain the testing, such as malingering.




                                          16
 Case 1:06-cr-00079-JMS-KSC        Document 1275      Filed 08/16/10   Page 17 of 36
                                    PageID.14436


Id. at 45 (internal marks and citations omitted); see also State v. Obstein, 247 A. 2d

5 (N.J. 1968) overruled on other grounds by State v. Williams, 93 N.J. 39, 459

A.2d 641 (1983) (defendant may not use expert testimony about the defendant’s

statements concerning the crimes charged if the government’s experts are not

allowed to elicit those statements from the defendant for purposes of rebuttal).

             To allow the Government experts to go beyond rebutting Defendant’s

expert testimony that he has BIF and affirmatively assert that Defendant suffers

from psychosis or Anti-Social Personality Disorder and that either of those

conditions actually caused him to commit the alleged acts, is tantamount to using

Defendant’s own statements, for which he has not waived his Fifth Amendment

rights, against him in a criminal proceeding. The Government may rebut

Defendant’s mental status defense, not prosecute based upon Defendant’s mental

health. Accordingly, the Court finds that the Government’s rebuttal expert

testimony must be limited in scope to that which directly rebuts Defendant’s

assertion of BIF and which is based upon expert examinations that parallel the

exploration of the examinations conducted by defense experts.11




      11
         The Court is not suggesting that the Government cannot use any of the
testing that it has already conducted so long as that testing, and the results obtained
therefrom, is properly limited in scope.

                                          17
  Case 1:06-cr-00079-JMS-KSC       Document 1275     Filed 08/16/10   Page 18 of 36
                                    PageID.14437


          B.   Use of the PCL-R

               Next, Defendant argues that the Court should not allow admission at

the guilt phase of any evidence obtained through a Government expert’s use of Dr.

Robert Hare’s Psychopathy Checklist-Revised, 2nd Edition (PCL-R) in examining

Defendant. (Opp’n, Ex. 8 ¶ 7.)

               Dr. Goldstein employed a PCL-R in her examination of Defendant in

order to assess whether Defendant could be diagnosed with psychopathy or

Antisocial Personality Disorder.12 Dr. Goldstein stated in her declaration that in

order to obtain a potential diagnosis of Antisocial Personality Disorder, she must

be able to inquire into Defendant’s post-offense sentiments of remorse or

cognitions and conduct from which such sentiments may be inferred.13 (Opp’n,

Exh. 10 at ¶¶ 9-10.) As to the analysis required by the PCL-R, Dr. Goldstein

states:




          12
         The Government expresses confusion regarding Defendant’s opposition
to the PCL-R and devotes a large portion of its memorandum citing law regarding
a defendant’s right to withdraw without prejudice his or her notice regarding a
mental health defense under Rule 12.2(e).
          13
         Dr. Goldstein also explained why she wanted to administer the PCL-R in a
declaration filed as Exhibit 8 in support of a Government motion (Doc. # 1022) on
December 10, 2009.

                                          18
 Case 1:06-cr-00079-JMS-KSC        Document 1275      Filed 08/16/10   Page 19 of 36
                                    PageID.14438


      The PCL-R uses a semi-structured interview, file and collateral
      information to measure inferred personality traits and behaviors
      related to a widely understood, traditional conception of psychopathy.
      Hare PCL-R snd [sic] Edition Technical Manual Exh. 9. at 1. The
      materials from the PCL-R also include Table 1.1, which contains a
      psychopathy checklist. It provides for the following characteristics of
      a psychopath:

      1. Glibness/Superficial charm
      2. Grandiose Sense of Self Worth
      3. Need for Stimulation/Proneness to boredom
      4. Pathological Lying
      5. Conning/Manipulative
      6. Lack of Remorse or Guilt
      7. Shallow Affect
      8. Callous/Lack of Empathy
      9. Parasitic Lifestyle
      10. Poor Behavior Controls
      11. Promiscuous Sexual Behavior
      12. Early Behavioral Problems
      13. Lack of Realistic, Long-Term Goals
      14. Impulsivity
      15. Irresponsibility
      16. Failure to Accept Responsibility for Own Actions
      17. Many Short-Term Marital Relationships
      18. Juvenile Delinquency
      19. Revocation of Conditional Release
      20. Criminal Versatility


(Id., Ex. 8 ¶ 7.) Dr. Goldstein stated in her declaration that it “should be clear

from the above checklist that ‘Lack of Remorse or Guilt’ and the defendant’s

post-arrest state of mind are critical elements of the Hare PCL-R checklist . . . and




                                          19
 Case 1:06-cr-00079-JMS-KSC        Document 1275     Filed 08/16/10    Page 20 of 36
                                    PageID.14439


their omission could invalidate scoring of the scale.” (Id. ¶ 9.) The Court notes

that these factors are identified as numbers 6 and 16 of the checklist.

             Defendant argues that describing an individual facing capital

punishment as a psychopath is “so profoundly pejorative as to equate with a

sentence of death.” (Mot. at 8 (quoting Cunningham and Reidy, A Matter of Life

or Death: Special Considerations and Heightened Practice Standards in Capital

Sentencing Evaluations, 19 Behavioral Sciences and the Law 479 (2001)).)

Defendant further argues that although the Government’s experts may conduct a

mental health evaluation dealing with guilt trial issues, these issues also have

sentencing implications, which any jury will undoubtedly consider if there is a

penalty phase.

             The Government argues that because Dr. Goldstein intends to use the

PCL-R checklist, including the factors of remorse or guilt, to help determine

whether Defendant allegedly tortured and killed Talia because he was a psychopath

or because he has Antisocial Personality Disorder, evidence of either of the two

disorders will be used to “rebut” Defendant’s mental status defense that he has BIF

and therefore could not form the intent to cause physical pain to Talia.




                                          20
 Case 1:06-cr-00079-JMS-KSC           Document 1275     Filed 08/16/10   Page 21 of 36
                                       PageID.14440


Specifically, the Government states that evidence of either of these two disorders

would

        provide to the jury an alternative explanation for the defendant’s
        conduct. The jury would then be free to decide whether psychopathy
        or Antisocial Personality Disorder explains why the defendant did the
        acts alleged in Counts 1, 2, and 3 of the Second Superseding
        Indictment.

(Opp’n at 19.)

                 Admissibility of the PLC-R at this juncture depends in part14 on

whether its use exceeds the scope of the defense examination of Defendant

conducted pursuant to his mental status notice. The Court discussed above the

scope of a government expert’s rebuttal testimony that is admissible with regard to

a defendant’s Fifth Amendment rights. Here, any diagnosis which requires a

broader examination of Defendant, or which is used to assert a theory of

prosecution not just to rebut the Defendant’s mental status defense, is inadmissible.

                 One of the cases cited by the Government in which use of the PCL-R

was analyzed involved the test’s use in a capacity hearing, which is a situation

distinct from a mental health status notice. United States v. Mitchell, 2010 WL

723729 at *74 (D. Utah Mar. 10, 2010). The other case, in which the test survived

a limited Daubert challenge, involved the government’s use of the PCL-R to


        14
             Defendant also contests the reliability of the PCL-R.

                                             21
 Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 22 of 36
                                   PageID.14441


determine that a defendant in a capital case, Barnette, was a psychopath. United

States v. Barnette, 211 F.3d 803, 821-22 (4th Cir. 2000). In Barnette, evidence of

psychopathy as determined by use of the PCL-R was presented by the prosecution

at the sentencing in order to rebut Barnette’s mental health experts’ diagnoses.

             At sentencing, Barnette’s mental health experts testified that Barnette

suffered from substance abuse, depression, bipolar disorder, intermittent explosive

disorder, and borderline personality disorder. Id. at 821. Additionally, one of

Barnette’s experts, a psychologist and risk assessment expert, testified that

Barnette’s risk for future violence in prison was very low. Id. In rebuttal, the

government’s expert testified that Barnette was a psychopath based on the PCL-R

with twice as great a likelihood to engage in future criminal behavior as a non-

criminal psychopath. Id. at 823. A psychopath was described by the

prosecution’s expert as:

      an individual who lacks the ability to feel at the same level and have
      the intensity of what feelings are as compared to nonpsychopathic
      individuals. Typically they are very callous, manipulative, calculating,
      individuals that will often exploit other people. There is research to
      suggest that biologically, they do not respond to what nonpsychopaths
      view as fear and anxiety which are two emotions that make up what
      we refer to as remorse or guilt. The pyschopath is an individual that
      has little if any ability to feel remorse or guilt for behavior they
      engage in.




                                         22
 Case 1:06-cr-00079-JMS-KSC        Document 1275      Filed 08/16/10    Page 23 of 36
                                    PageID.14442


Id. at 822. The Court finds Barnette distinct from the instant case. Besides the fact

that Barnette involved a sentencing proceeding, not only was Barnette’s risk for

future violence in prison put at issue by the defense prior to its rebuttal by the

prosecution through the PCL-R evidence, but Barnette’s own expert had also

performed the PCL-R and obtained contradictory results.15 Id. at 823-824.

             Again, Defendant’s mental status notice concerns only the projected

use of BIF and brain damage as a defense at the guilt stage. BIF is characterized

by an IQ in the 71-84 range accompanied by generally poor adaptive functioning.

(Mental Health Order at 15.) People with BIF, as described by Defendant’s expert

Dr. Young, have:

      disadvantages in reasoning, planning, problem-solving, and thinking
      abstractly. Furthermore, those with BIF may not be able to easily
      comprehend or learn quickly from experiences. While an individual
      may have certain skills or abilities in some areas, they may also show
      substantial disability in others. From an emotional or psychological
      perspective, individuals with BIF are frequently dependent on others,
      have limited coping mechanisms, tend to be vulnerable to
      psychological overload, and demonstrate immature social skills.




      15
         The Government asserts that it is not seeking evidence of Defendant’s
future dangerousness and that because of its choice not to allege future
dangerousness in the “death notice,” (Doc. # 1059) it will be barred from making
that argument even at a sentencing hearing. See 18 U.S.C. § 3593(c) (“The
government may present any information relevant to an aggravating factor which
notice has been provided under subsection (a).”).

                                          23
 Case 1:06-cr-00079-JMS-KSC         Document 1275      Filed 08/16/10    Page 24 of 36
                                     PageID.14443


(Id. at 15-16 (internal citations omitted).) Dr. Young intends to testify that BIF

could impact Defendant’s ability to form mens rea. In addition to BIF, Defendant

also intends to introduce evidence of Defendant’s brain damage that could also

impact his ability to form mens rea.

             This Court found that

      BIF is not a clearly defined mental disease, disorder, or defect that has
      attained sufficient acceptance and recognition within the mental health
      community. BIF, rather, is more a description of a person’s abilities
      and inabilities than a recognized diagnosable condition.

(Id. at 25.) Such a finding was based in part on testimony by the Government’s

expert Dr. Resnick, who concluded that BIF is not even a mental health diagnosis.

(Id. at 19.) This Court ruled that with respect to discussion of BIF at trial, although

Dr. Young and Dr. Stewart will be able to use the term “borderline intellectual

functioning,” they may not state or imply that it is anything more than a description

of certain abilities and disabilities. (Id. at 26.) Further, this Court specifically

noted that whether diminished capacity was an issue in this case is still unclear,

and that “insofar as diminished capacity is different from mental health evidence

negating specific intent, this Court notes further briefing on the issue may be

required.” (Id. at 44.) The Court left to the jury the question of “[w]hether




                                           24
  Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 25 of 36
                                    PageID.14444


Defendant is, in fact, impaired and whether that impairment truly affected his

capacity to form the requisite mens rea at the time periods at issue.” (Id. at 27.)

              In response, the Government asserts that the possible introduction of

evidence that Defendant is a psychopath or has Anti-Social Personality Disorder is

appropriate to rebut Defendant’s BIF defense. Such a proposition is not tenable.

While a psychopath’s description as a “calculating[] individual[] that will often

exploit other people,” Barnette, 211 F.3d at 822, certainly intimates that Defendant

would be able to form intent, it goes well beyond “rebuttal” of Defendant’s mental

status defense. The Court finds that because the PCL-R necessarily addresses such

factors as “Lack of Remorse or Guilt” and the Defendant’s post-arrest state of

mind, which is not within the scope of an examination necessary to rebut

Defendant’s assertion of BIF (see Mental Health Order ), the PCL-R exceeds the

scope of admissible rebuttal by the prosecution. Because any diagnosis made as a

result of the PCL-R exceeds the scope of the examination required to directly rebut

Defendant’s BIF defense, and is therefore inadmissible, the Court need not address

the test’s reliability.

              Accordingly, because the Government’s examination of Defendant

has already occurred, the Court DENIES AS MOOT Defendant’s Motion to




                                          25
  Case 1:06-cr-00079-JMS-KSC      Document 1275      Filed 08/16/10   Page 26 of 36
                                   PageID.14445


foreclose testing. The Court GRANTS Defendant’s Motion as to its request to

foreclose introduction of mental health evidence derived from the PCL-R.16

II.   Taint Team Appointment

             Defendant contends that appointment of a taint team to govern Drs.

Goldstein and Oakland’s examinations is warranted in order to prevent the

Government’s trial team’s advance viewing of information pertinent to penalty

related issues as prohibited by Rule 12.2(c). Defendant argues that a taint team is

also necessary where defense counsel’s objections “are such that it would be

inappropriate for the Trial Team to address them at this juncture[,]” apparently

implying that defense counsel’s objections to the guilt related mental health

examinations have penalty implications. Defendant asks the Court to “resolve the

issue of what a proper taint team is in the context of the examination related

proceedings[.]” (Mot. at 10.)

             As explained above, prior to the Government’s expert examinations of

Defendant, the parties entered into a stipulation regarding what procedures were to

govern those examinations. (Stipulation.) The Government argues that the



      16
        At the hearing on this matter, the Government disclosed that Dr. Goldstein
determined that Defendant was not a sociopath. This finding, without more, does
not make the issue of the Government’s possible admission of mental health
evidence derived from the PCL-R moot.

                                         26
 Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 27 of 36
                                   PageID.14446


Stipulation does not provide for the appointment of a taint team. (See id.)

However, the Stipulation clearly anticipates that the Court would rule on the

appropriateness of a taint team procedure due to disagreement on such a procedure

between the Government and Defendant. (Id. ¶¶ 13, 16.)

              The Government argues that a taint team procedure is not required by

law. In support, the Government states that Rule 12.2(c)(2) provides that reports

prepared by the government’s mental health experts for sentencing purposes must

be sealed unless and until the defendant is found guilty, Fed. R. Crim. P.

12.2(c)(2), and that this provision, as well as Rule 12.2(b)(2), govern when the

defendant gives notice of his intention to introduce expert witness testimony of the

defendant’s mental condition bearing on “the issue of punishment in a capital

case.” Fed. R. Crim. P. 12.2(b)(2). In contrast, the Government asserts that Rule

12.2(b)(1), requiring notice if a defendant’s intent to introduce evidence regarding

mental health at the guilt phase, has no such sealing requirement. Fed. R. Civ. P.

12.2(b)(1).

              The Government further argues that the defense has cited to no case

where a taint team was used when a mental condition was a defense at the guilt

stage; instead, the cases cited involve taint teams used where the defendant’s

mental health condition was an issue solely at sentencing. (Opp’n at 24 (citing


                                         27
 Case 1:06-cr-00079-JMS-KSC        Document 1275      Filed 08/16/10   Page 28 of 36
                                    PageID.14447


United States v. Sampson, 335 F. Supp. 2d 166, 247-48 (D. Mass. 2004); United

States v. Johnson, 362 F. Supp. 2d 1044, 1088-93 (N.D. Iowa 2005).) Therefore,

the Government argues that its experts’ examinations need not be subjected to a

taint team because they were performed in response to Defendant’s notice that he

intends to introduce mental status evidence at the guilt phase.

             The Government fails to acknowledge that Defendant’s notice

concerns both the guilt and sentencing phases, and examinations by the

Government experts have the possibility of impacting both phases. As Defendant

points out, the issues in guilt and penalty phases have the potential for being very

different. See Estelle, 451 U.S. at 468 (future dangerousness was so clearly

penalty-related that the admission at penalty phase of capital felony trial of

psychiatrist’s damaging testimony on crucial issue of future dangerousness

violated Fifth Amendment privilege against compelled self-incrimination because

of lack of appraisal of rights and a knowing waiver thereof). Defense counsel cites

the 2008 Supplementary Guideline for the Mitigation Function of Defense Teams

in Death Penalty Cases in order to demonstrate that mitigating evidence at the

penalty phase of a capital trial is wide-ranging and is introduced to negate what

jurors may consider to be aggravating evidence. (Doc. # 1242 at 7.)




                                          28
 Case 1:06-cr-00079-JMS-KSC        Document 1275      Filed 08/16/10   Page 29 of 36
                                    PageID.14448


             Defendant asserts that such evidence includes an accused individual’s

capacity for change, institutional adjustment, and unlikelihood of posing a danger

while incarcerated. (Id.) Defense counsel also states that expert analysis may be

presented in mitigation at the sentencing phase regarding:

      the accused’s full personal history; an interpretation and analysis of
      his positive relationship with his family even after his arrest; his
      potential for peaceful adjustment in custodial settings; humanizing
      him by explaining his background; demonstrating how his behavior
      and personality while in custody help predict peaceful adjustment;
      demonstrating a potential for a positive contribution while
      incarcerated.

(Id. at 8.) The possible rebuttal to this evidence by the prosecution, some of which

the Government has indicated it will not seek to establish here, includes:

      the accused’s lack of remorse; his rule violations and violence while
      incarcerated pending trial; his unwillingness to communicate with any
      family members; [and] his threats to victims[.]

(Id.) Therefore, the accused in a death penalty case can tender a mental condition

defense pertinent to guilt that may be unrelated to, or at least narrower in scope

than, any psychological or psychiatric expert opinion evidence in mitigation that

may be presented at the penalty phase.

             For penalty phase mental health issues, the Federal Rules of Criminal

Procedure require that a certain procedure be followed regardless of what may

occur in the guilt phase of a capital trial. Rule 12.2(c)(2) prohibits any disclosure


                                          29
 Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 30 of 36
                                   PageID.14449


to prosecutors of any statements of the defendant relating to the issue of

punishment in a capital case made during a mental examination by government

experts until two things happen: (1) the defendant is convicted; and (2) the

defendant confirms his intent to rely on mental condition evidence during the

penalty phase. See Fed. R. Crim. P. 12.2(c)(2); Johnson, 383 F. Supp. 2d at 1151-

52. As to use of statements of the defendant relating to the issue of punishment in

a capital case made during a mental examination by government experts, Rule

12.2(c)(4) provides that “[n]o statement made by a defendant in the course of any

examination conducted under [Rule 12.2] (whether conducted with or without the

defendant’s consent), no testimony by the expert based on the statement, and no

other fruits of the statement may be admitted into evidence against the defendant in

any criminal proceeding except on an issue regarding mental condition on which

the defendant . . . has introduced expert evidence in a capital sentencing proceeding

requiring notice under Rule 12.2(b)(2).” Fed. R. Crim. P. 12.2(c)(4)(B); Johnson,

383 F. Supp. 2d at 1151-52.

             Rules 12.2(b) and 12.2(c) frame part of the process to assure that a

defendant is insulated against the Government’s acquisition and improper use of

the defendant’s court-compelled statements in a penalty phase. While the

Government has a right to examine a defendant who has noticed his intent to


                                         30
 Case 1:06-cr-00079-JMS-KSC        Document 1275      Filed 08/16/10   Page 31 of 36
                                    PageID.14450


introduce expert testimony on a mental condition at the penalty phase so as not to

delay the penalty trial, Government trial counsel may not see penalty-related

evidence and information in the guilt trial, or at any point prior to when an accused

is found guilty of one or more capital offenses, and confirms “. . . an intent to offer

during sentencing proceedings expert evidence on mental condition[,]” and may

not use that evidence until Defendant actually puts the mental condition evidence

at issue in the penalty phase. Fed. R. Civ. P. 12.2(c)(2), (c)(4)(B); Johnson, 383 F.

Supp. 2d at 1161.

             The purpose of the taint team is to avoid derivative use issues in the

event that a mental health examination intended for the guilt phase of trial invades

the purview of sentencing. Although the cases that the Government attempts to

distinguish involved the use of mental health evidence only at the sentencing

phase, here, mental health evidence may be used at the guilt and sentencing phase.

If Defendant is found guilty, there will be a sentencing phase during which, at this

juncture, Defendant plans to use mental health evidence. However, if and until

there is a sentencing phase, and Defendant reconfirms his intention to use mental

health evidence, the Government trial team may not have access to any sentencing-

related mental health evidence. Moreover, although the Government points out

that Defendant may rescind his mental health notices, the Government fails to


                                          31
 Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 32 of 36
                                   PageID.14451


account for the possibility that the Defendant may decide to rescind his notice as to

the guilt phase only, thereby leaving the Court in a situation where there have been

no protective procedures for the sentencing phase in the absence of a taint team.

As stated by the Advisory Committee Notes:

      The proposed change in Rule 12.2(c)(2) adopts the procedure used by
      some courts to seal or otherwise insulate the results of the examination
      until it is clear that the defendant will introduce expert evidence about
      his or her mental condition at a capital sentencing hearing; i.e., after a
      verdict of guilty on one or more capital crimes, and a reaffirmation by
      the defendant of an intent to introduce expert mental-condition
      evidence in the sentencing phase. See, e.g., United States v.
      Beckford, 962 F. Supp. 748 (E.D. Va. 1997). Most courts that have
      addressed the issue have recognized that if the government obtains
      early access to the accused’s statements, it will be required to show
      that it has not made any derivative use of that evidence. Doing so can
      consume time and resources. See, e.g., United States v. Hall, supra,
      152 F.3d at 398 (noting that sealing of record, although not
      constitutionally required, “likely advances interests of judicial
      economy by avoiding litigation over [derivative use issue]”).

Rule 12.2, Advisory Committee Notes, 2002 Amendments; United States v.

Sampson, 335 F. Supp. 2d 166, 234 (D. Mass 2004).

             It appears from defense counsel’s declaration, and from the

submission of the two instant Motions to Seal, that the defense has already actively

engaged in the taint team process with Assistant U.S. Attorney Rachel Moriyama,




                                         32
 Case 1:06-cr-00079-JMS-KSC       Document 1275      Filed 08/16/10   Page 33 of 36
                                   PageID.14452


the Government’s taint team counsel,17 as to Government expert Dr. Resnick’s

examination of Defendant and that implementation of such a procedure for Drs.

Goldstein and Oakland will cause no further delay in trial preparation. It is the

Court’s understanding that objections to these examinations are currently being

discussed between defense counsel and both Government trial team counsel and

taint team counsel and that the Defendant anticipates filing specific objections in

motion form, whether under seal or public, concerning issues that fail to be

resolved through this process.

             For all the reasons above, and in light of the examinations of

Defendant by Drs. Goldstein and Oakland that went beyond the purview of what

this Court has ordered admissible, the Court orders the parties to follow the


      17
         Although at the hearing Defendant seemed to raise the issue of an
“outside” taint team, this issue was not raised by the instant Motion. Other district
courts that have considered the issue have employed the use of an outside taint
team, although noting that an outside team, or any taint team at all, may not always
be necessary. See, e.g., Johnson, 362 at 1084. Here, the Court feels that the taint
team and firewall procedures specified by the Court’s prior taint team order (Doc.
# 883) will adequately restrict the Government trial team’s access to sentencing-
related mental health evidence, and the use of out of district Assistant United States
Attorneys is unnecessary and impracticable given that the location of this district.
See Wilson, 493 at 358 (appointing an outside taint team because the court
determined there was no “compelling reason to not take the more cautious route[,]”
especially in light of the court’s “geographic proximity to several other districts,
including the Souther District of New York’s U.S. Attorney’s Office, located less
than two miles away in lower Manhattan, and the District of New Jersey’s
office.”).

                                         33
 Case 1:06-cr-00079-JMS-KSC        Document 1275     Filed 08/16/10   Page 34 of 36
                                    PageID.14453


procedures provided by this Court’s prior taint team order in making and resolving

objections to the examinations by Drs. Goldstein and Oakland. (Doc. # 883 ¶¶ 9-

10.) The order states, in relevant part:

      9) If the defendant’s attorneys file objections that particular portions
      of the videotapes exceed the permissible scope of the examination and
      relate solely to penalty or sentencing issues, the government will
      appoint a taint team (that is, attorneys not involved in the prosecution
      of the defendant in any way) to litigate whether or not those portions
      of the examinations relate solely to sentencing issues. If the taint team
      cannot resolve those matter(s) with the defendant’s attorneys, then the
      parties (i.e., the defendant’s attorneys and the government’s taint
      team) will litigate the matter(s) before the Court. The prosecution
      team (i.e., AUSA Silverberg and SAUSA McFeatters) will not view
      the portions of the examinations challenged by the defendant’s
      attorneys unless the Court rules in the government’s favor. Counsel
      for the defense have notified the Government that they reserve the
      right to object to the taint team;

      10) If the defendant’s attorneys file other objections to particular
      portions of the videotapes which do not raise objections to the scope
      of the examination, then the prosecution team (i.e., AUSA Silverberg
      and SAUSA McFeatters) will be permitted to view those portions of
      the videotapes and to litigate non-sentencing matters relating to those
      portions. The defense has indicated that it intends to litigate the scope
      of examination issues before other matters[.]

(Id.) Again, the Court encourages the parties to try to resolve any objections

extrajudicially. Accordingly, the Court GRANTS the Oakland Motion to Seal

(Doc. # 1217) and the Goldstein Motion to Seal (Doc. # 1218).




                                           34
 Case 1:06-cr-00079-JMS-KSC       Document 1275     Filed 08/16/10   Page 35 of 36
                                   PageID.14454


             Defendant’s underlying objections contain motions for additional time

to review and object to materials related to the examinations by Drs. Goldstein and

Oakland. The apparent reasoning, although not made clear in the motions and not

supported by the attached declaration of counsel, is that defense expert Dr. Young

has been reviewing the examination materials but has been busy with other

engagements and was therefore not able to complete her review by the deadline or

provide defense counsel with access to all of the examination materials. At the

hearing, the parties agreed that Dr. Young received the materials on June 10, 2010.

             Although it is made clear by the Stipulation that defense counsel was

to have no more than 30 days after receipt to object to the examinations

(Stipulation ¶ 13), should the defense in light of the Court’s ruling need more time

to make objections, it may file a separate motion. Accordingly, the underlying

objections’ motions for additional time will be denied as moot.

                                  CONCLUSION

             For the reasons stated above, the Court DENIES AS MOOT IN

PART AND GRANTS IN PART Defendant’s Motion to Foreclose Psychological

Testing using the PCL-R and Other Unreliable Testing Instruments; (2) DENIES

AS MOOT Defendant’s Motion For Order Requiring Videotaping of




                                         35
 Case 1:06-cr-00079-JMS-KSC     Document 1275     Filed 08/16/10   Page 36 of 36
                                 PageID.14455


Examinations; (3) GRANTS Defendant’s Motion For Decision on Pending Taint

Team Question. (Doc. # 1120).

            Additionally, the Court GRANTS the Oakland Motion to Seal (Doc. #

1217) and the Goldstein Motion to Seal (Doc. # 1218).



            IT IS SO ORDERED.

            DATED: Honolulu, Hawai1i, August 16, 2010.




                                     _____________________________
                                     David Alan Ezra
                                     United States District Judge




United States v. Williams, CR 06-00079 DAE-KSC; ORDER: (1) DENYING AS
MOOT IN PART AND GRANTING IN PART DEFENDANT’S MOTION TO
FORECLOSE PSYCHOLOGICAL TESTING USING THE PCL-R AND OTHER
UNRELIABLE TESTING INSTRUMENTS; (2) DENYING AS MOOT
DEFENDANT’S MOTION FOR ORDER REQUIRING VIDEOTAPING OF
EXAMINATIONS; (3) GRANTING DEFENDANT’S MOTION FOR DECISION
ON PENDING TAINT TEAM QUESTION; GRANTING DEFENDANT’S
MOTIONS TO SEAL




                                       36
